Case 1:20-cv-00484-RDA-TCB Document 364 Filed 10/07/21 Page 1 of 2 PageID# 12442


                        IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

                                                  )
   AMAZON.COM, INC and AMAZON                     )
   DATA SERVICES, INC.,                           )        Case No. 1:20cv484 (LO/TCB)
                                                  )
          Plaintiffs,                             )
                                                  )
   v.                                             )
                                                  )     NOTICE OF HEARING FOR MOTION
   WDC HOLDINGS LLC d/b/a                         )      TO INTERVENE AND MOTION TO
   NORTHSTAR COMMERCIA                            )         INTERVENE UNDER SEAL
   PARTNERS, et al,                               )
                                                  )
           Defendants,
                                                  )
                                                  )




         PLEASE TAKE NOTICE that on October 22, 2021, at 10:00 a.m., or as soon thereafter as

  counsel may be heard, 800 Hoyt LLC (“800 Hoyt”) seeks hearing on its filings the Motion To

  Intervene (Dkt. 334) and Motion to Seal (Dkt. 337).



   Dated: October 7, 2021                       FAEGRE DRINKER BIDDLE & REATH LLP

                                                /s/ Kathryn M. Skilton

                                                Kathryn M. Skilton
                                                Virginia Bar Number 90176
                                                kathryn.skilton@faegredrinker.com
                                                801 Grand Avenue, 33rd Floor
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                                                ATTORNEYS FOR INTERVENOR 800 HOYT
                                                LLC




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Case 1:20-cv-00484-RDA-TCB Document 364 Filed 10/07/21 Page 2 of 2 PageID# 12443


                                     CERTIFICATE OF SERVICE


         I, Kathryn Skilton, hereby certify that on the October 7, 2021, I caused the within NOTICE

  OF HEARING FOR MOTION TO INTERVENE AND MOTION TO INTERVENE

  UNDER SEAL, to be electronically filed and served using the CM/ECF System, which will

  transmit a Notice of Electronic Filing to counsel of record.

         Additionally, the document and notification of filing will be sent by U.S. Mail to the

  following last-known address of the following parties:

  Jamie Hubbard                                        Allcore Development LLC
  Stimson Stancil LaBranche Hubbard                    6870 W 52nd Avenue, Suite 203
  1652 Downing Street                                  Arvada, CO 80002
  Denver, CO 80218
  Counsel for Defendants White Peaks Capital           Finbrit Holdings LLC
  LLC and NOVA WPC LLC                                 6870 W 52nd Avenue, Suite 203
                                                       Arvada, Colorado 80002
   Villanova Trust
  c/o Christian Kirschner, Trustee                     Casey Kirschner
  3924 Wallace Lane                                    635 N. Alvarado Lane
   Nashville, TN 37215                                 Plymouth, MN 55447
                                                        By email: casey.kirschner@gmail.com




         Dated: October 7, 2021                        /s/ Kathryn Skilton




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